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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Brandon Camiliere, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging FLOYD

RAY ROSEBERRY (“ROSEBERRY”) with violations of 18 U.S.C. § 2332a(a)(2)(A) (Weapons

of Mass Destruction) and 18 U.S.C. § 844(e) (Explosives).

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

ROSEBERRY (i) did, without lawful authority, threaten to use a weapon of mass destruction

against a person and property within the United States using a facility of interstate or foreign

commerce, in violation of 18 U.S.C. § 2332a(a)(2)(A); and (ii) did, through the use of a telephone

or instrument of interstate or foreign commerce, or in or affecting interstate or foreign commerce,

willfully make a threat, or maliciously convey false information knowing the same to be false,

concerning an attempt or alleged attempt made unlawfully to damage or destroy a building,

vehicle, or real or personal property by means of a an explosive, in violation of 18 U.S.C. § 844(e).

                                BACKGROUND OF AFFIANT

       3.      I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been

so employed for over four years. I am currently assigned to the Washington Field Office to a

squad responsible for domestic terrorism investigations. I have worked in the counterterrorism

field for approximately four years. My primary responsibilities include the investigation of crimes

as defined by United States Code. I have received training conducting criminal and intelligence

investigations, conducting searches and seizures, and effecting criminal arrests. As a result of my
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experience in counterterrorism investigations, I am familiar with the strategy, tactics, methods,

tradecraft and techniques of agents of domestic terrorism and domestic terrorism organizations.

       4.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, reports, or other evidence. Because this affidavit is being submitted for the limited purpose

of establishing probable cause in support of a criminal complaint, it does not contain each and

every fact known to me or the United States concerning this investigation. I have set forth only

the facts that I believe are necessary to establish probable cause that ROSEBERRY committed the

offenses set forth herein.

                                       PROBABLE CAUSE

       5.      At approximately 9:45 a.m. on August 19, 2021, the FBI responded to assist U.S.

Capitol Police with a bomb threat made by an individual later identified as FLOYD RAY

ROSEBERRY, a resident of Grover, North Carolina. ROSEBERRY had reportedly claimed to

have a bomb and a detonator in his possession.

       6.      ROSEBERRY was located inside of a black Chevrolet pick-up truck with no

license plates that was parked at First Street and Independence Avenue, Northeast, in Washington,

D.C., adjacent to the Jefferson Building of the Library of Commerce. He is depicted inside the

truck at that location in the photograph below, and in a cropped portion of the same photograph,

which was obtained by law enforcement. In the photograph, ROSEBERRY appears to be holding

a cellular phone.




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      7.      The appearance of the individual in the photograph above is consistent with a 2021

photograph of ROSEBERRY, displayed immediately below, which was obtained from a

government database.




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       8.      While inside the truck, ROSEBERRY broadcast live video and audio through a

Facebook account, www.facebook.com/ray.roseberry.7. Records provided by Facebook

confirmed that ROSEBERRY is the subscriber of the account.

       9.      During the course of these events on August 19, 2021, which garnered widespread

media attention, a local law enforcement official in Cleveland County, North Carolina contacted

the FBI to report that the official recognized ROSEBERRY as the subject of a report received the

previous day, on August 18, 2021, by a person (W-1) related to ROSEBERRY. W-1 had reported

their concern that ROSEBERRY had recently expressed anti-government views and an intent to

travel to Virginia or Washington, D.C. to conduct acts of violence. W-1 also reported that

ROSEBERRY had stated that he “ordered a trench coat to protect him from Taser and pepper ball

guns and he would just tip his cowboy hat at the police.”

       10.     On August 19, 2021, W-1 was interviewed by the FBI and confirmed that the truck

appearing in the photograph above belonged to ROSEBERRY and that person depicted in the truck

was ROSEBERRY. W-1 also identified ROSEBERRY and ROSEBERRY’s Facebook page,

which is depicted in the following screenshot.




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       11.     Law enforcement has obtained copies of the Facebook video broadcast by

ROSEBERRY on August 19, 2021, during which he can be seen throwing U.S. dollar bills out of

the truck and onto the street. He can also be heard stating, among other things:

                a. “Hey, call the police and tell them to come out here and clear the Capitol. Tell
                   them to clear the Capitol. Tell them to clear it. These fucking people think I’m
                   joking, don’t they. Hey ma’am, will you call them? I’ve called 911 a couple
                   times. Tell them to come out here and clear this fucking place out. They need
                   to clear that ‘cause I got a bomb in here. I don’t want nobody hurt. Yes sir, I
                   don’t want nobody hurt. I’m not coming here to hurt nobody. I’m not lying,
                   tell them there’s some more.”

                b. “Sir, this thing here, all I’m doing, I’m not gonna let this bomb go off, but if
                   these windows break, see that little speaker right there, it sets off on decimals.
                   Clear the block, clear the block. Joe Biden I’m not hurting nobody, but I think
                   these flags need to go to half-staff brotha’. I’m telling you, my windows pop,
                   this bomb is gonna go, it’s made for decimals. Your military experts, that you
                   let get their legs blown off, are the ones that built this and if you don’t think
                   it’s real gun powder in their boss man, there’s gun powder in there this is some

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                     of the strongest shit you can get. I got two and a half pound of tannerite. Go
                     ahead and get ‘em all in the building, but I’m telling you Biden, if these
                     windows pop this bomb goes and there’s five of ‘em here.” 1

                c. “We here. The fucking revolution starts today Joe Biden. And before you go
                   crackin’ any pop on me, you better get your military experts out, ask them
                   motherfuckers what a 7 pound keg of gun powder will do with 2.5 pound of
                   tannerite on that motherfucker.”


                d. “If you want to shoot me and take the chance of blowing up two-and-a-half
                   city blocks, ‘cause that tool box is full, ammonium nitrate is full.”
       12.     At approximately 10:21 a.m., ROSEBERRY began communicating with law

enforcement by writing messages on a small white dry erase board and placing it in the driver’s

side window of the target vehicle while intermittently holding an unidentified device. The

messages stated in part, “please don’t shoot the windows the vibe will explode the bomb,” “I have

no control of it,” “decimals is what sets off not me,” and at approximately 11:21 a.m., “my name

is Ray Roseberry.”


       13.     In video from the morning of August 19, 2021, ROSEBERRY was observed

holding an old metal can that appeared to have been fashioned into an explosive device, as shown

in the image below.



1
       Based on my training and experience, I believe that “tannerite” is a reference to a brand of
exploding rifle target made of ammonium nitrate and aluminum power. See www.tannerite.com.




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       14.     At approximately 2:15 pm, ROSEBERRY was taken into custody by law

enforcement. In a post-arrest interview, ROSEBERRY confirmed his identity.

       15.     After ROSEBERRY’s arrest, the can that ROSEBERRY was observed holding was

recovered in the front seat of the truck. The can was old and rusted and had approximately 1 – 2”

of an unknown powder in the bottom of it. A fabricated trigger was attached to the top of the can.

The can was sent to an FBI laboratory for further examination.

       16.     The statements above are true and accurate to the best of my knowledge and belief.


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                                           Respectfully submitted,




                                           Brandon Camiliere
                                           Special Agent
                                           Federal Bureau of Investigation




Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on August 20, 2021.
                     2021.08.20 13:30:55
                     -04'00'
_________________________________________
HON. ZIA M. FARUQUI
UNITED STATES MAGISTRATE JUDGE




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